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                             IN THE UNITED STATES BANKRUPTCY COURT

                                  FOR THE DISTRICT OF DELAWARE


In re:                                          )
                                                         Chapter 11
                                                )


W. R. GRACE & CO., et al.,                      )
                                                         Case No. 01-01139 (KJC)
                                                )
                                                         (Jointly Administered)
                             Debtors.


                                        CERTIFICATE OF SERVICE


                  I, James E. O’Neill, hereby certify that on the 7th day of January, 2014, I caused a

copy of the following document to be served on the individuals on the attached service list in the

manner indicated:

                  NOTICE OF MOTION FOR ENTRY OF AN ORDER AUTHORIZING
                  THE DEBTORS TO (A) ENTER INTO THE EXIT FINANCING
                  COMMITMENT AND ENGAGEMENT LETTER AND THE FEE
                  LETTERS, (B) PAY CERTAIN FEES, INDEMNITIES, COSTS AND
                  EXPENSES IN CONNECTION THEREWITH, AND (C) FILE THE
                  COMMITMENT AND ENGAGEMENT LETTER AND THE FEE
                  LETTERS UNDER SEAL; AND

                  MOTION FOR ENTRY OF AN ORDER AUTHORIZING THE DEBTORS
                  TO (A) ENTER INTO THE EXIT FINANCING COMMITMENT AND
                  ENGAGEMENT LETTER AND THE FEE LETTERS, (B) PAY CERTAIN
                  FEES, INDEMNITIES, COSTS AND EXPENSES IN CONNECTION
                  THEREWITH, AND (C) FILE THE COMMITMENT AND
                  ENGAGEMENT LETTER AND THE FEE LETTERS UNDER SEAL.




DOCS_DE: 190898.191100/001
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